              Case 25-70026-JAD                   Doc 1     Filed 01/28/25 Entered 01/28/25 21:28:11                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mallard Cove Senior Development, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1410 Mallard Cove Drive
                                  Sharonville, OH 45246
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hamilton                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.mallardcoveseniorliving.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Mallard Cove Senior Development, LLC                                                         Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6233

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                  Case number
                                                District                                  When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?




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Debtor    Mallard Cove Senior Development, LLC                                                            Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      Sultana Express, LLC                                          Relationship               Affiliate
                                                                 Western District of
                                                     District    Pennsylvania                 When      11/19/24               Case number, if known      24-22845


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Mallard Cove Senior Development, LLC                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 28, 2025
                                                  MM / DD / YYYY


                             X /s/ Jonathan Levey                                                         Jonathan Levey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager and Sole Member




18. Signature of attorney    X /s/ Michael J. Roeschenthaler                                               Date January 28, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael J. Roeschenthaler
                                 Printed name

                                 Raines Feldman Littrell LLP
                                 Firm name

                                 11 Stanwix Street
                                 Suite 1100
                                 Pittsburgh, PA 15222
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     412-899-6472                  Email address      mroeschenthaler@raineslaw.com

                                 87647 PA
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Mallard Cove Senior Development, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 28, 2025                X /s/ Jonathan Levey
                                                           Signature of individual signing on behalf of debtor

                                                            Jonathan Levey
                                                            Printed name

                                                            Manager and Sole Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Mallard Cove Senior Development, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Alex Fisher                                                                                                                                                   $399,868.00
 1 McKnight Place
 St Louis, MO 63124
 Chucks Customs                                                                                                                                                    $5,600.00
 Home Improvement
 4240 Ashgrove Ct
 Independence, KY
 41051
 CJs Wholesale                                                                                                                                                   $24,739.00
 Flooring
 1386 State Route 28
 Unit D
 Loveland, OH 45140
 David Smith                                                                                                                                                   $399,868.00
 1 McKnight Place
 St Louis, MO 63124
 Direct Supply TELS                                                                                                                                              $19,516.00
 Building Services
 7311 W. Green Tree
 Rd.
 Milwaukee, WI
 53223
 EBF Holdings LLC                                                                                                                                              $133,351.00
 102 W 38th St.
 6th Floor
 New York, NY 10018
 Fisher Broyles                                                                                                                                                    $7,950.00
 945 East Paces
 Ferry Road, NE
 Suite 2000
 Atlanta, GA 30303
 Frost Brown Todd                                                                                                                                                $44,852.00
 400 W Market Street
 Suite 3200
 Louisville, KY 40202




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Mallard Cove Senior Development, LLC                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Gordon Davidson                                                                                                                                               $500,000.00
 7010 Del Corso Lane
 Del Ray Beach, FL
 33446
 Gordon Food                                                                                                                                                     $55,011.00
 Services
 342 Gordon
 Industrial Dr
 Sheperdsville, KY
 40165
 Health With Heart                                                                                                                                               $48,479.00
 Senior Services
 7368 Kingsgate Way
 A
 West Chester
 Township, OH 45069
 Lifeline Systems                                                                                                                                                  $6,004.00
 Company
 200 Donald Lynch
 Blvd.
 Suite 300
 Marlborough, MA
 01752
 Michelle Marra                                                                                                                                                  $50,000.00
 791 Wackeman
 Court
 Westerville, OH
 43081
 Orkin                                                                                                                                                             $7,203.00
 2170 Piedmont Rd.
 NE,
 Atlanta, GA 30324
 PIRS Capital LLC                                                                                                                                              $152,980.00
 1688 Meridian Ave.
 Suite 700
 Miami Beach, FL
 33139
 Recker and Boerger                                                                                                                                              $11,003.00
 10115
 Transportation Way
 West Chester, OH
 45246
 Sage Age Strategies                                                                                                                                               $7,513.00
 Inc
 55 Pierce Ln
 Suite 202
 Montoursville, PA
 17754
 Shubhra Rose                                                                                                                                                  $150,000.00
 7010 Del Corso Lane
 Del Ray Beach, FL
 33446

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Mallard Cove Senior Development, LLC                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 U.S. Foods                                                                                                                                                      $38,273.00
 9399 W. Higgins Rd.
 Suite 100
 Rosemont, IL 60018
 West Bend                                                                                                                                                       $12,351.00
 Insurance Co
 1900 S 18th Ave
 West Bend, WI
 53095




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                          United States Bankruptcy Court
                                             Western District of Pennsylvania
 In re   Mallard Cove Senior Development, LLC                                         Case No.
                                                             Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Mallard Cove Senior Development, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




January 28, 2025                                /s/ Michael J. Roeschenthaler
Date                                            Michael J. Roeschenthaler
                                                Signature of Attorney or Litigant
                                                Counsel for Mallard Cove Senior Development, LLC
                                                Raines Feldman Littrell LLP
                                                11 Stanwix Street
                                                Suite 1100
                                                Pittsburgh, PA 15222
                                                412-899-6472
                                                mroeschenthaler@raineslaw.com
